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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MICHIGAN

GALE JUGOVICH,

               Plaintiff,                           Case No:

 vs.
                                                    JURY TRIAL DEMANDED
3M COMPANY
3M Center
Bldg. 224-5N-40
2501 Hudson Rd.
Maplewood, Minnesota, 55144

               Defendant.




                               COMPLAINT - CIVIL ACTION

        COME NOW the Plaintiff, above-named, by and through his attorneys, OLIVER

 LAW GROUP P.C., bringing this Complaint seeking judgment against Defendant 3M

 COMPANY, and allege as follows:

                                      INTRODUCTION

        This action is brought by Plaintiff, Gale Jugovich, a decorated veteran of the United

 States Army who bravely served our country from 2003 to 2015. Gale Jugovich's service to his

 country has included deployment to Iraq. Gale Jugovich continued to serve his country in the

 Army/National Guard until medically retired. Like his fellow soldiers, Gale Jugovich served his

 country admirably and with the expectation that the companies that provided his equipment,

 safety products, and arms would provide safe and effective products that complied with

 applicable safety and government standards. That was not



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the case for the ear protection provided to Gale Jugovich and his fellow service members. For

over a decade, 3M sold the military defective and unsafe combat earplugs for use by Gale

Jugovich and others, exposing our military service members to injuries and increased risks on

the battlefield, and during the course of training for those combat deployments. Shockingly, 3M

provided these defective earplugs knowing that the safety devices failed to provide the protection

that was advertised and promised to the Armed Forces.

        1.         Plaintiffs, Gale Jugovich is an adult individual and citizen of the State of

Michigan, City of Portland.

       2.      Defendant, 3M COMPANY ("3M") is a company or business organization

organized and existing under and by virtue of the laws of Delaware, with its principal place of

business located at 3M Center, Bldg. 224-5N-40, 2501 Hudson Rd., Maplewood, Minnesota

55144. Defendant 3M Company is registered to transact business in the Commonwealth of

Pennsylvania and may be served with process on its registered agent, CT Corporation System,

600 North 2nd St., Suite 401 Harrisburg, Pennsylvania 17101.

       3.      Among other things, Defendant, 3M is m the business of designing,

manufacturing, and selling worker safety products, including hearing protectors and respirators,

and is one of the largest companies in the United States.

       4.      At all times relevant hereto, Defendant 3M acted by and through its respective

agents, servants, workmen and employees, who were acting within the scope of their authority

and employment.

                                JURISDICTION AND VENUE

       5.      At all times relevant hereto, Defendant, 3M, purposely established significant

contacts in Pennsylvania, including but not limited to, registration as a foreign corporation doing




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business in M i c h i g a n , and has carried out, and continues to carry out, substantially

continuous and systematic business activities in Michigan.

        6.      This court has subject matter jurisdiction over this action under 28 U.S.C. § 1332

because complete diversity of citizenship exists between the parties and the amount in

controversy is greater than $75,000.

        7.      Venue is proper in this Court pursuant to 28 U.S.C. § 139l(b)(1), as Defendant,

3M, has purposely established significant contacts in the Western District of Michigan.

        8.        Plaintiff Gale Jugovich is a resident of Michigan and has significant

contact with Michigan.

                                              FACTS

        9.      Plaintiff, Gale Jugovich, entered the military in 2003.

        10.     Prior to joining the military, Plaintiff had no signs or symptoms of hearing issues,

hearing loss, or tinnitus.

        11.     Plaintiff was stationed at Fort Campbell Kentucky prior to deployment.

        12.     Mr. Jugovich was deployed in Iraq from 2005-2006.

        13.     Plaintiff was issued 3M's Dual-Ended Combat Arms™ (hereinafter, "3M Dual-

Ended Combat Arms") by the Army's Central Issue Facility.

        14.     During Plaintiff’s deployment and during his pre-deployment training and post

deployment training, the 3M Dual-Ended Combat Arms earplugs were standard issue.

       15.      During his deployment and training missions, small arms, heavy artillery and

rockets were used and discharged in proximity to Plaintiff.

       16.     During his training and deployments, Plaintiff was required to wear, and did wear

the 3M Dual-Ended Combat Arms™ ear protection in the field.

       17.       As a direct and proximate result of the Defendant’s conduct, as more fully

discussed below, Plaintiff was caused to sustain severe, disabling and catastrophic injuries

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including, but not limited to, tinnitus, and partial hearing loss.

       18.      As a direct and proximate result of Defendant's conduct, Plaintiff has in the past,

and continues to suffer pain, mental anguish, loss of independence, humiliation, embarrassment,

fear, loss of well-being, inability to enjoy the normal pleasures of life, and restrictions on his

ability to engage in normal activities and pleasures of life, as well as other intangible losses.

        19.     As a direct and proximate result of Defendant's conduct, Plaintiff has in the past

required, continues to require, and in the future will require medical treatment and care, and has

in the past, continues presently, and may in the future incur the cost of medicines, durable

medical equipment and things, medical care, hospitalizations, treatment, future operations,

testing, and rehabilitation and attempts to alleviate and/or cure his conditions.

        20.     As a direct and proximate result of Defendant’s co n d u c t , Plaintiff has been

prevented and/or limited and will in the future be prevented and/or limited from performing his

usual duties, activities, occupations and avocations and has suffered a loss of earnings, loss of

earnings capacity, and may be permanently impaired.



                   THE 3M DUAL-ENDED COMBAT ARMS EARPLUGS

        21.     The 3M Dual-Ended Combat Arms™ were developed by Aearo Technologies,

Inc., (hereinafter, "Aearo"), a 3M company, which developed, marketed, and sold the Dual-

Ended Combat Arms™ earplugs until being acquired by Defendant, 3M Company in 2008.

        22.     Upon information and belief, by way of consolidation, merger, or asset transfer,

Defendant, 3M Company, Inc. entered into an agreement with Aearo and/or its shareholders

which amounted to a consolidation of the entities, merger, or de facto merger, by which 3M

Company assumed liability for the actions of Aearo, and which permitted 3M Company to

continue the operations of Aearo including the continuation of the Dual-Ended Combat Arms™

product line (hereinafter, "The Merger").

        23.     Upon information and belief, the Merger permitted 3M Company the exclusive

right to manufacture the Dual-Ended Combat Arms™, permitted 3M Company the exclusive
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right to distribute Dual-Ended Combat Arms™ and permitted 3M Company to have exclusive

use of the name Dual-Ended Combat Arms™.

        24.     Upon information and belief, 3M received and/or had access to all information

associated with the Dual-Ended Combat Arms™.

        25.      3M acquired both the assets and liabilities of Aearo. Thus, Aearo and 3M are

used interchangeably and all allegations against Aearo are directed as a matter of law against 3M

Company and vice versa.

        26.        The Dual-Ended Combat Arms™ earplugs were developed for the specific

purpose of providing service members with a single set of earplugs that provide two options for

hearing attenuation depending on how they are worn.

        27.     The earplugs can be worn in two ways, first, the wearer can put the open or

"unblocked" position (yellow in ear) to block, or at least significantly reduce, loud impulse

sounds associated with military service. This position was designed to allow serviceman to hear

quieter noises such as commands spoken by fellow servicemen and approaching enemy

combatants. Second, the earplugs can also be worn in a closed or "blocked" position (olive in

ear) to block, or at least significantly reduce, all sounds.




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        28.         With this design, Aearo/3M won a series of Indefinite-Quantity Contracts

("IQCs") to be the exclusive supplier of selective attenuation earplugs to the U.S. military

between 2003 and 2012 and continuing as a non-exclusive provider thereafter.

        29.     In order to be the exclusive supplier during the relevant years and a continued

supplier thereafter, Aearo/3M represented that the Dual-Ended Combat Arms™ earplugs would

meet specific performance criteria established by the U.S. Government as a prerequisite for

bidding on the IQC for earplugs.

        30.     At all times, Aearo/3M's performance representations were false; and Defendant

knew them to be false. These dangerous defects were known to Aearo/3M in 2000 before

submitting a bid in response to the military's Request for Proposal ("RFP").

        31.     At all relevant times, the Dual-Ended Combat Arms™ earplugs had a dangerous

design defect that caused them to imperceptibly loosen in the wearer's ear, thus allowing

damaging sounds to enter the ear canal around the outside of the earplug.

        32.     Specifically, the basal edge of the third flange of the non-inserted end of the

earplug is prone to press against some wearers' ear canals and fold back to its original shape,

thereby loosening the seal in their ear canals.

        33.     Because the earplug is symmetrical, the defect exists regardless of which end is

inserted into the ear.

       34.      Aearo/3M learned of this design defect when it completed and/or performed

testing of the Dual-Ended Combat Arms™ earplugs.

       35.       The value and effectiveness of earplugs has been standardized under federal law

through a Noise Reduction Rating ("NRR"). The testing and labeling of earplugs such as the

Combat Arms™ earplugs to achieve an NRR is governed by federal regulations promulgated by




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the Environmental Protection Agency ("EPA") pursuant to the Noise Control Act, 42 U.S.C. §

4901 et seq. Specifically, 40 C.P.R. §211.206-1 provides:

               The value of sound attenuation to be used in the calculation of the
               Noise Reduction Rating must be determined according to the
               "Method for the Measurement of Real-Ear Protection of Hearing
               Protectors and Physical Attenuation of Earmuffs." This standard is
               approved as the American National Standards Institute Standard
               (ANSI-STD) S3.19-1974.

       36.     Further, 40 C.P.R. §211.204-4(e) requires that specific supporting information
accompany hearing protection devices sold in the United States:
               The following minimum supporting information must accompany
               the device in a manner that insures its availability to the
               prospective user. In the case of bulk packaging and dispensing,
               such supporting information must be affixed to the bulk container
               or dispenser in the same manner as the label, and in a readily
               visible location.... Instructions as to the proper insertion or
               placement of the device.

                      FALSE AND MANIPULATED TEST RESULTS

       37.        Employees from Aearo/3M began testing the Dual-Ended Combat Arms™

earplugs in or around January 2000 at its own laboratory. Aearo/3M selected ten test subjects and

intended to test: (1) the subject's hearing without an earplug inserted; (2) the subject's hearing

with the open/unblocked (yellow) end of the Dual-Ended Combat Arms™ earplug inserted; and

(3) the subject's hearing with the closed/blocked (olive) end of the Dual-Ended Combat Arms™

earplug inserted. This testing was designed to provide data regarding the "NRR" of the Dual-

Ended Combat Arms™ earplugs.

       38.     Aearo/3M personnel monitored the results of each subject as the test was

performed and could thus stop the test if the desired NRR results were not achieved.

       39.    Eight of the ten subjects were tested using both the open and closed end of the

Dual-Ended Combat Arms™ earplug.




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        40.     Aearo/3M terminated the January 2000 testing of the closed end of the dual-

ended Combat Arms™ earplug because the eight subjects averaged an NRR of 10.9. This was

neither an expected nor a positive score for Aearo/3M.

       41.      Aearo/3M determined that when the closed, olive end of the earplug was inserted

into the wearer's ear according to standard fitting instructions, the basal edge of the third flange

of the open, yellow end would press against the wearer's ear and fold backwards. When the

inward pressure on the earplug was released, the yellow side flanges would return to their

original shape and cause the earplug to loosen.

       42.     The symmetrical nature of the earplug prevents a proper fit when worn either

open (yellow end) or closed (olive end) according to the standard fitting instructions.

       43.       Aearo/3M personnel determined that a proper fit requires the flanges on the

opposite, non-inserted end of the ear plug to be folded back prior to insertion.

       44.     Aearo/3M completed testing of all ten subjects with the "open" or "unblocked"

(yellow end) position of the Dual-Ended Combat Arms™ earplug to obtain a facially invalid -2

NRR, which would indicate that the closed end of the earplug actually amplified sound.

       45.     Aearo/3M represented the -2 NRR as a "0" NRR which Aearo/3M has displayed

on its packaging since its launch.

       46.     Aearo/3M falsely promotes "0” NRR as a benefit of the Dual-Ended Combat

Arms™ earplug. A showing of "0" means that a serviceman is able to hear fellow soldiers and

enemies while still providing some protection. However, the true -2 NRR actually amplifies

sound thereby exposing the hearer to harm.

       47.      After identifying the design defect, Aearo/3M re-tested the olive, closed end of

the Dual-Ended Combat Arms™ earplug in February 2000 using manipulated fitting




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instructions. Aearo/3M personnel used the manipulated instructions to tell the subjects to fold

back the yellow flanges on the open end of the Dual-Ended Combat Arms™ earplug before

insertion.

        48.     Using this manipulated fitting procedure, Aearo/3M obtained a "22" NRR on the

closed end (olive) of the Dual-Ended Combat Arms™ earplugs.

        49.     The manipulated instruction, however, was never properly warned by Aearo/3M

to serviceman. Aearo/3M never properly warned serviceman that the only potential way to obtain

a "22" NRR was to manipulate the Dual-Ended Combat Arms™ earplug by folding the yellow

flanges on the opposite end.

        50.    Aearo/3M never retested the "open" or "unblocked" position (yellow end) of the

Dual-Ended Combat Arms™.

                     FALSE CERTIFICATION TO THE U.S. MILITARY

        51.     Aearo/3M knew at the time it bid for the initial IQC that the Dual-Ended Combat

Arms™ earplugs had dangerous design defects and did not adequately warn of the defects or

adequately warn how to wear the earplugs.

       52.      Aearo/3M responded to the military's Requests for Proposal ("RFP") with express

certifications that it complied with the Salient Characteristics of Medical Procurement Item

Description ("MPID") of Solicitation No. SP02000-R-4202.

       53.      The pertinent Salient Characteristics set forth in the MPID, which were uniform

across all RFPs, in relevant part, are as follows:

               2.1.1 Ear plugs shall be designed to provide protection from the
               impulse          noises created by military firearms, while allowing
               the wearer to clearly hear normal speech and other quieter
               sounds, such as voice commands, on the battlefield.

               2.2.2. The sound attenuation of both ends of the ear plugs shall be




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               tested in accordance with ANSI S3.19.

               2.4 Workmanship. The ear plugs shall be free from all defects that
               detract from their appearance or impair their serviceability.

               2.5 Instructions. Illustrated instructions explaining the proper use
               and handling of the ear plugs shall be supplied with each unit.

               Solicitation No. SP0200-06-R-4202 at 41-42.

        54.     Aearo/3M knew that at the time it made its certifications to the military the Dual-

Ended Combat Arms™ did not comply with the MPID. Specifically, Aearo/3M knew the design

defects could cause the earplugs to loosen in the wearer's ear, imperceptibly to the wearer.

        55.      Aearo/3M knowingly used the deliberately flawed retest with the manipulated

instructions of the closed end (olive) of the earplugs to sell Dual-Ended Combat Arms™

earplugs to the military with the representation that they possess a "22” NRR in the closed

position.

       56.     In addition, nothing in the instructions disclosed that it was necessary to instruct

wearers of the Dual-Ended Combat Arms™ earplug to fold back the flanges before inserting the

closed end into the ear.

       57.      Aearo/3M also falsely reported to the U.S. military that the "open" (yellow end)

of the Combatant Arms™ earplugs had a "0" NRR. The "0" NRR would allow servicemen to

speak to fellow servicemen and hear enemies during combat.

       58.     Due to the false certifications, Aearo/3M's bid was the prevailing bid which made

it the exclusive provider of selective attenuation earplugs to the U.S. military.

       59.      Since the adoption of the Dual-Ended Combat Arms™, the United States military

has paid millions of dollars to purchase the defective earplugs.




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        60.     Since the adoption of the Dual-Ended Combat Arms™, millions of service

members, including Plaintiff, Gale Jugovich, have relied on the misrepresentations of Aearo/3M

in mistakenly believing that they were provided with adequate hearing protection.

        61.    The military purchased, at a minimum, one pair of 3M's Combat Arms™

earplugs for each deployed solider involved in foreign conflicts between 2003 and 2015.

        62.     In May 2016, Defendant was named in a sealed action alleging that the above

described conduct constituted a protracted fraud perpetrated on the United States Military by 3M

Company for more than a decade. See, United States of America ex rei. Moldex-Metric, Inc. v.

3M Company, United States District Court for the District of South Carolina, Case No. 3:16-

1533-MBS.

        63.     In July 2018, Defendant 3M agreed to pay $9.1 million to resolve allegations that

it fraudulently supplied the United States with defective 3M Dual-Ended Combat Arms™

earplugs.

       64.       Plaintiff could not, by the exercise of reasonable diligence, have discovered

Defendants' wrongful acts as the cause of his injuries at the time the devices failed him or soon

thereafter because, at the time of these injuries, the cause was unknown to Plaintiff. Plaintiff did

not suspect, nor did Plaintiff have reason to suspect, the cause of these injuries, or the tortious

nature of the conduct causing these injuries, until less than the applicable limitations period prior

to the filing of this action. See also 50 U.S.C. § 3936.

       65.     Further, the running of any statute of limitations has been tolled by reason of

Defendant's fraudulent concealment. Through its affirmative misrepresentations and omissions,

Defendant actively concealed from Plaintiff the risks associated with the defects in the Dual-

Ended Combat Arms™ earplugs.




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        66.      As a result of Defendant's actions, Plaintiff was unaware, and could not have

reasonably known or have learned through reasonable diligence that he had been exposed to the

defects and risks alleged herein, and that those defects and risks were the direct and proximate

result of Defendants' acts and omissions.



                                COUNT I- STRICT LIABILITY

        67.     All preceding paragraphs of this Complaint are incorporated by reference the

same as if fully set forth herein.

        68.     Defendant 3M, by and through its agents, servants, workers, contractors, designers,

assemblers, manufacturers, sellers, suppliers and distributors is strictly liable under §402(A) of the

Restatement (Second) of Torts because:


               a. Defendant is engaged in the regular business of designing, assembling,
                  manufacturing, selling, supplying, distributing, and/or placing into the stream
                  of commerce safety equipment, including the Dual-Ended Combat Arms™
                  earplugs, and the earplugs that caused Plaintiffs injuries;
               b. The product involved in the subject incident was marketed and placed in the
                  general stream of commerce by Defendant 3M;
               c. The product was expected to and did reach users without substantial change in
                  the condition in which it was designed, assembled, manufactured, sold,
                  supplied, distributed, and/or placed into the stream of commerce; and
               d. The product was designed, assembled, manufactured, sold, supplied,
                  distributed, and/or placed into the stream of commerce in the defective
                  condition for the reasons set forth above and below.

       69.      The product was in a defective condition as: (1) the danger contained therein is

unknowable and unacceptable to the average or ordinary consumer; and/or (2) a reasonable

person would conclude that the probability and seriousness of the harm caused by the product

outweigh the burden or costs of taking precautions.




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       70.      The product was in a defective condition as it came with absolutely no warnings

or information or inadequate warnings or information regarding the dangers and risks associated

with the product.

       71.     The defective condition of the product caused Plaintiffs injuries and damages.

       72.          Defendant   3M, by    and   through    its   agents, servants, workers, contractors,

designers, assemblers, manufacturers, sellers, suppliers and distributors, is strictly liable under §

402(A) of the Restatement of the Law of Torts (Second) and its progeny by:

               a.        designing, manufacturing, equipping, distributing, leasing, installing,
                         selling and/or supplying a product that was unreasonably dangerous;
               b.        designing, manufacturing, equipping, distributing, leasing, installing,
                        selling and/or supplying a product that was unsafe and defective;
               c.       designing, manufacturing, equipping, distributing, leasing, installing,
                        selling and/or supplying a product that was unsafe for all of its intended
                        and foreseeable purposes and uses;
               d.       designing, manufacturing, equipping, distributing, leasing, installing,
                        selling and/or supplying a product in a defective condition;
               e.       designing, manufacturing, equipping, distributing, leasing, installing,
                        selling and/or supplying a product that lacked all necessary safety features
                        to protect users of said product;
               f.       designing, manufacturing, assembling, distributing, leasing, installing,
                        selling and/or supplying a product that was without adequate, necessary
                        and/or proper warning;
               g.       designing, manufacturing, assembling, distributing, leasing, installing,
                        selling and/or supplying a product that could be designed more safely;
               h.       designing, manufacturing, equipping, distributing, leasing, installing,
                        selling and/or supplying a product that was without adequate, necessary
                        and/or proper instructions;
               i.       failing to provide adequate instructions to users of this product regarding
                        the safe use of this product;
               j.       failing to provide adequate instructions for the installation of this product;
               k.       failing to provide users of this product with adequate warnings,
                        instructions and/or training regarding the proper use of this product;
               l.       performing inadequate testing and/or repairs to the product;
               m.       failing to provide service bulletins and/or change options regarding
                        changes to safety standards regarding the product;
               n.       failing to retrofit the product with necessary safeguards to comply with
                        industry standards;
               o.       failing to provide and install guards;




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               p.        failing to follow the National Safety Council hierarchy of safe product
                         design;
               q.        failing to design the Dual-Ended Combat Arms™ in compliance with
                         ANSI S3.19.
               r.        failing to design the Dual-Ended Combat Arms™ in a manner which
                         would result in a NRR of "22” when used with the closed, olive end
                         inserted, according to the standard fitting instructions provided by
                         Defendant;
               s.        failing to properly and thoroughly test the Dual-Ended Combat Arms™
                         earplugs;
               t.        failing to properly and thoroughly analyze the data resulting from testing
                         of the Dual-Ended Combat Arms™ earplugs;
               u.        designing, manufacturing, distributing, and selling the Dual-Ended
                         Combat Arms™ earplugs without an adequate warning of the significant
                         and dangerous risks of the earplugs;
               v.        designing, manufacturing, distributing, and selling the Dual-Ended
                         Combat Arms™ without providing proper instructions to avoid the harm
                         which could foreseeably occur because of using the earplugs in the
                         manner directed by Defendant's standard fitting instructions;
               w.        failing to fulfill the standard of care required of a reasonable and prudent
                         manufacturer of hearing protection products, specifically including
                         products such as the Dual-Ended Combat Arms™ earplugs; and
               x.        continuing to manufacture and distribute the Dual-Ended Combat Arms™
                         earplugs to the U.S. Military after Defendant knew or should have known
                         of its adverse effects and/or the availability of safer designs.

       73.     By reason of the breach of duties by Defendant 3M, by and through its agents,

servants, workmen, contractors, suppliers, distributors and/or employees as aforesaid, Plaintiff

was caused to sustain disabling personal injuries, as set forth above.

       74.     By conducting itself as set forth above, Defendant 3M's acts and/or omissions

were a substantial factor in, a factual cause of, and/or increased the risk of Plaintiffs disabling

personal injuries, including those set forth above.

       75.          Defendant's   conduct    was      malicious, wanton, willful, oppressive, grossly

negligent, and/or showed reckless indifference to the health and/or safety of service members of

the United States military, including Gale Jugovich.




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        WHEREFORE, Plaintiff demands judgment against Defendant for compensatory and

punitive damages together with lawful interest, attorneys' fees, costs of suit and all other claims

available by law.

                                COUNT II- FAILURE TO WARN

        76.     All preceding paragraphs of this Complaint are incorporated by reference the

same as if fully set forth herein.

        77.    At all times relevant to this action, Defendant had a duty to manufacture, design,

formulate, test, package, label, produce, create, make, construct, assemble, market, advertise,

promote, and distribute the 3M Dual-Ended Combat Arms™ with reasonable and due care for

the safety and well-being of U.S. military service men and women, including Plaintiff, who were

subject to and used the Dual-Ended Combat Arms™ earplugs during their service with the U.S.

Military.

       78.     Plaintiff was a foreseeable user of the Dual-Ended Combat Arms™ earplugs.

       79.      The Dual-Ended Combat Arms™ earplugs are defective, in part, in that the design

of the earplug causes them to loosen in the wearer's ear, imperceptibly to the wearer, thereby

permitting damaging sounds to enter the ear canal by traveling around the outside of the earplug

while the user incorrectly believes that the earplug is working as intended.

       80.          The Dual-Ended Combat Arms™ earplugs contained no warnings, or in the

alternative, contained inadequate warnings and/or instructions, as to the risk that the Dual-Ended

Combat Arms™ earplugs would allow for dangerous sounds to bypass the plug altogether,

thereby posing a serious risk to Plaintiffs hearing unbeknownst to him.

       81.     The warnings and instructions that accompanied the Dual-Ended Combat Arms™

earplugs failed to provide that level of information that an ordinary consumer would expect when




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using the Dual-Ended Combat Arms™ earplugs in a manner reasonably foreseeable to

Defendant.

        82.     Had Plaintiff received a proper or adequate warning as to the risks associated with

the Dual-Ended Combat Arms™ earplugs, he would not have used the Dual-Ended Combat

Arms™ earplugs.

       83.      The Dual-Ended Combat Arms™ earplugs were the proximate cause of Plaintiffs

hearing issues, hearing loss, and tinnitus because the design of the earplugs allows for dangerous

sounds to bypass the plug altogether thereby posing a serious risk to Plaintiffs hearing

unbeknownst to him.

       84.     By reason of the breach of duties by Defendant 3M, by and through its agents,

servants, workmen, contractors, suppliers, distributors and/or employees as aforesaid, Plaintiff

was caused to sustain disabling personal injuries, as set forth above.

       85.     By conducting itself as set forth above, Defendant 3M's acts and/or omissions

were a substantial factor in, a factual cause of, and/or increased the risk of Plaintiffs disabling

personal injuries, including those set forth above.

       86.          Defendant's   conduct   was        malicious, wanton, willful, oppressive, grossly

negligent, and/or showed reckless indifference to the health and/or safety of service members of

the United States military, including Gale Jugovich.

       WHEREFORE, Plaintiff demands judgment against Defendant for compensatory and

punitive damages together with lawful interest, attorneys' fees, costs of suit and all other claims

available by law.




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                                     COUNT III- NEGLIGENCE

       87.     All preceding paragraphs of this Complaint are incorporated by reference the

same as if fully set forth herein.

       88.     Defendant is in the business of designing, assembling, manufacturing,

distributing, selling, and/or supplying safety products such as the Dual-Ended Combat Arms™.

       89.     Defendant designed, assembled, manufactured, distributed, sold, supplied, and/or

installed the Dual-Ended Combat Arms™.

       90.      At all times relevant to this action, Defendant had a duty to manufacture, design,

formulate, test, package, label, produce, create, make, construct, assemble, market, advertise,

promote, and distribute the 3M Dual-Ended Combat Arms™ with reasonable and due care for

the safety and well-being of U.S. military service men and women, including Plaintiff, who were

subject to and used the Dual-Ended Combat Arms™ earplugs during their service with the U.S.

Military.

       91.     Defendant, by and through its agents, servants, workers, contractors, suppliers,

distributors and employees, breached their duties as follows:

               a.      designing, manufacturing, equipping, distributing, leasing, installing,
                       selling and/or supplying a product that was unreasonably dangerous;
               b.      designing, manufacturing, equipping, distributing, leasing, installing,
                       selling and/or supplying a product that was unsafe and defective;
               c.      designing, manufacturing, equipping, distributing, leasing, installing,
                       selling and/or supplying a product that was unsafe for all of its intended
                       and foreseeable purposes and uses;
               d.      designing, manufacturing, equipping, distributing, leasing, installing,
                       selling and/or supplying a product in a defective condition;
               e.      designing, manufacturing, equipping, distributing, leasing, installing,
                       selling and/or supplying a product that lacked all necessary safety features
                       to protect users of said product;
               f.      designing, manufacturing, assembling, distributing, leasing, installing,
                       selling and/or supplying a product that was without adequate, necessary
                       and/or proper warning;




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           g.     designing, manufacturing, assembling, distributing, leasing, installing,
                  selling and/or supplying a product that could be designed more safely;
            h.     designing, manufacturing, equipping, distributing, leasing, installing,
                  selling and/or supplying a product that was without adequate, necessary
                  and/or proper instructions;
           1.     failing to provide adequate instructions to users of this product regarding
                 the safe use of this product;
          J.      failing to provide adequate instructions for the installation of this product;
          k.      failing to provide users of this product with adequate warnings,
                 instructions and/or training regarding the proper use of this product;
           1.    performing inadequate testing and/or repairs to the product;
           m.    failing to provide service bulletins and/or change options regarding
                 changes to safety standards regarding the product;
            n.    failing to retrofit the product with necessary safeguards to comply with
                 industry standards;
           o.    failing to provide and install guards;
           p.     failing to follow the National Safety Council hierarchy of safe product
                 design;
           q.     failing to design the Dual-Ended Combat Arms™ in compliance with
                 ANSI S3.19;
           r.    failing to design the Dual-Ended Combat Arms™ in a manner which
                 would result in an NRR of "22” when used with the closed, olive end
                 inserted, according to the standard fitting instructions provided by
                 Defendant;
           s.     failing to properly and thoroughly test the Dual-Ended Combat Arms™
                 earplugs;
           t.    failing to properly and thoroughly analyze the data resulting from testing
                 of the Dual-Ended Combat Arms™ earplugs;
           u.     designing, manufacturing, distributing, and selling the Dual-Ended
                 Combat Arms™ earplugs without an adequate warning of the significant
                 and dangerous risks of the earplugs;
           v.     designing, manufacturing, distributing, and selling the Dual-Ended
                 Combat Arms™ without providing proper instructions to avoid the harm
                 which could foreseeably occur because of using the earplugs in the
                 manner directed by Defendant's standard fitting instructions;
           w.     failing to fulfill the standard of care required of a reasonable and prudent
                 manufacturer of hearing protection products, specifically including
                 products such as the Dual-Ended Combat Arms™ earplugs; and
           x.     negligently continuing to manufacture and distribute the Dual-Ended
                 Combat Arms™ earplugs to the U.S. Military after Defendant knew or
                 should have known of its adverse effects and/or the availability of safer
                 designs.




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        92.      By reason of the breach of duties by Defendant 3M, by and through its agents,

servants, workmen, contractors, suppliers, distributors and/or employees as aforesaid, Plaintiff

was caused to sustain disabling personal injuries, as set forth above.

        93.     By conducting itself as set forth above, Defendant 3M's acts and/or omissions

were a substantial factor in, a factual cause of, and/or increased the risk of Plaintiffs disabling

personal injuries, including those set forth above.

        94.       Defendant's        conduct was malicious, wanton, willful, oppressive, grossly

negligent, and/or showed reckless indifference to the health and/or safety of service members

of the United States military, including Gale Jugovich.

        WHEREFORE, Plaintiff demands judgment against Defendant for compensatory and

punitive damages together with lawful interest, attorneys' fees, costs of suit and all other claims

available by law.



                    COUNT IV- FRAUDULENT MISREPRESENTATION

        95.    All preceding paragraphs of this Complaint are incorporated by reference the

same as if fully set forth herein.

        96.     3M materially misrepresented to the Plaintiff that the Dual-Ended Combat

Arms™ earplugs had been properly tested and were free from defects.

        97.      3M knew        or      believed the Dual-Ended Combat Arms™ earplugs were

improperly tested and/or suffered from material defects. 3M manipulated the testing of the

Dual-Ended Combat Arms™ earplugs which resulted in a misleading NRR and inadequate

fitting instructions.




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        98.    Defendant 3M made the false representations described herein with the intent of

defrauding and deceiving Plaintiff and made the false representations with the intent of

inducing Plaintiff to purchase, use, and/or continue to use the Dual-Ended ꞏ Combat Arms™

earplugs.

        99.    At the time Plaintiff used the Dual-Ended Combat Arms™ earplugs, Plaintiff

was unaware of the false representations made by 3M.

        100.   At the time Plaintiff used the Dual-Ended Combat Arms™ earplugs, Plaintiff

reasonably believed the false representations to be true.

        101.   By reason of Defendant's conduct and in reliance of the false representation,

plaintiff sustained serious and permanent disabling personal injuries, including those as set

forth above.

        102.   By reason of the breach of duties by Defendant 3M, by and through its agents,

servants, workmen, contractors, suppliers, distributors and/or employees as aforesaid, Plaintiff

was caused to sustain disabling personal injuries, as set forth above.

        103.   By conducting itself as set forth above, Defendant 3M's acts and/or omissions

were a substantial factor in, a factual cause of, and/or increased the risk of Plaintiffs disabling

personal injuries, including those set forth above.

        104.        Defendant's   conduct was malicious, wanton, willful, oppressive, grossly

negligent, and/or showed reckless indifference to the health and/or safety of service members

of the United States military, including Gale Jugovich.

       WHEREFORE, Plaintiff demands judgment against Defendant for compensatory and

punitive damages together with lawful interest, attorneys' fees, costs of suit and all other claims

available by law.




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                                   Respectfully Submitted,

                                   OLIVER LAW GROUP P.C.


Date: April 29, 2019               /s/ Alyson Oliver
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